 Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.618 Page 1 of 21

                       UNITED STATES COURT OF APPEALS
                                                                        FILED
                                FOR THE NINTH CIRCUIT
Apr 20 2017                                                             FEB 16 2017
                                                                       MOLLY C. DWYER, CLERK
  s/ AKR                                                                U.S. COURT OF APPEALS




  MICHAEL P. KOBY, an individual, on               No. 13-56964
  behalf of themselves and all others
  similarly situated; et al.,
                                                   D.C. No. 3:09-cv-00780-KSC
                  Plaintiffs - Appellees,          U.S. District Court for Southern
                                                   California, San Diego
  BERNADETTE M. HELMUTH,
                                                   MANDATE
                  Objector - Appellant,

  UNITED STATES OF AMERICA,

                  Intervenor,

    v.

  ARS NATIONAL SERVICES, INC., a
  California Corporation and JOHN AND
  JANE DOES, 1 through 25, inclusive,

                  Defendants - Appellees.


           The judgment of this Court, entered January 25, 2017, takes effect this date.

           This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

Costs are taxed against the Plaintiffs-Appellees Koby, et al. and Defendants-

Appellees ARS National Services, Inc. in the amount of $128.60.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.619 Page 2 of 21

                                        FOR THE COURT:

                                        MOLLY C. DWYER
                                        CLERK OF COURT

                                        By: Jessica F. Flores Poblano
                                        Deputy Clerk
                                        Ninth Circuit Rule 27-7
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.620 Page 3 of 21




                               FOR PUBLICATION

                UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


              MICHAEL P. KOBY, an                     No. 13-56964
              individual; MICHAEL SIMMONS,
              an individual; and JONATHAN                D.C. No.
              SUPLER, an individual, on behalf      3:09-cv-00780-KSC
              of themselves and all others
              similarly situated,
                            Plaintiffs-Appellees,       OPINION

              BERNADETTE M. HELMUTH,
                        Objector-Appellant,

              UNITED STATES OF AMERICA,
                                 Intervenor,

                              v.

              ARS NATIONAL SERVICES, INC.,
              a California corporation; JOHN
              AND JANE DOES, 1 through 25,
              inclusive,
                         Defendants-Appellees.


                    Appeal from the United States District Court
                       for the Southern District of California
                   Karen S. Crawford, Magistrate Judge, Presiding

                       Argued and Submitted January 7, 2016
                               Pasadena, California
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.621 Page 4 of 21




             2                        KOBY V. HELMUTH

                                   Filed January 25, 2017

              Before: Paul J. Watford and Michelle T. Friedland, Circuit
                    Judges, and J. Frederick Motz,* District Judge.

                                 Opinion by Judge Watford


                                        SUMMARY**


                      Class Action Settlement / Magistrate Judges

                 The panel reversed a magistrate judge’s order approving
             a class action settlement in a suit brought against a debt
             collection agency under the Fair Debt Collection Practices
             Act.

                 The panel held that the magistrate judge had the authority
             to enter final judgment under 28 U.S.C. § 636(c) because she
             obtained the consent of the named plaintiffs and the
             defendant. Joining other circuits, the panel held that the
             magistrate judge was not required to obtain the consent of the
             four million additional class members who were not present
             before the district court. The panel also held that § 636(c)
             does not violate Article III of the Constitution by permitting
             magistrate judges to exercise jurisdiction over class actions
             without obtaining the consent of each absent class member.


                 *
                  The Honorable J. Frederick Motz, District Judge for the U.S. District
             Court for the District of Maryland, sitting by designation.
                 **
                   This summary constitutes no part of the opinion of the court. It has
             been prepared by court staff for the convenience of the reader.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.622 Page 5 of 21




                                  KOBY V. HELMUTH                         3

                 The panel held that the magistrate judge abused her
             discretion by approving the settlement as fair, reasonable, and
             adequate under Federal Rule of Civil Procedure 23(e)(2)
             because there was no evidence that the injunctive relief
             afforded by the settlement had any value to the class
             members, yet to obtain it they had to relinquish their right to
             seek damages in any other class action. There was also no
             evidence that the absent class members would derive any
             benefit from the settlement’s cy pres award. The panel
             remanded the case to the district court.


                                      COUNSEL

             Jonathan Taylor (argued) and Deepak Gupta, Gupta Beck
             PLLC, Washington, D.C.; Donald A. Yarbrough, Fort
             Lauderdale, Florida; Steven M. Bronson, The Bronson Firm
             APC, San Diego, California; for Objector-Appellant.

             Philip D. Stern (argued), Union, New Jersey; Robert E.
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             San Diego, California, for Plaintiffs-Appellees.

             Sean P. Flynn (argued), Gordon & Rees Scully Mansukhani,
             Irvine, California; David L. Hartsell, McGuire Woods LLP,
             Chicago, Illinois; for Defendant-Appellee.

             Brian Wolfman, Institute for Public Representation,
             Georgetown University Law Center, Washington, D.C.; Ira
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             Washington, D.C.; for Amicus Curiae National Association
             of Consumer Advocates.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.623 Page 6 of 21




             4                    KOBY V. HELMUTH

                                       OPINION

             WATFORD, Circuit Judge:

                 The magistrate judge in this case approved a class action
             settlement in which the named plaintiffs and class counsel got
             what they wanted but the remaining four million class
             members got worthless injunctive relief. In exchange for
             receiving nothing of value, the class members gave up their
             right to assert damages claims against the defendant in any
             other class action. We are asked to decide two issues:
             whether the magistrate judge had the authority to exercise
             jurisdiction without obtaining the consent of all four million
             class members; and, assuming we get past that issue, whether
             the magistrate judge abused her discretion by approving the
             settlement as fair, reasonable, and adequate.

                                            I

                 The named plaintiffs are Michael Koby, Michael
             Simmons, and Jonathan Supler. In April 2009 they sued ARS
             National Services, Inc., a debt collection agency, under the
             Fair Debt Collection Practices Act (FDCPA), 15 U.S.C.
             § 1692 et seq. They alleged that ARS violated §§ 1692d(6)
             and 1692e(11) of the FDCPA by leaving voicemail messages
             in which the callers failed to disclose (1) that they worked for
             ARS, (2) that ARS is a debt collector, or (3) that the purpose
             of the call was to collect a debt. The named plaintiffs brought
             the action on behalf of everyone in the United States who
             received a voicemail message from ARS which failed to
             disclose that information. The class consists of some four
             million people nationwide.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.624 Page 7 of 21




                                  KOBY V. HELMUTH                         5

                 The named plaintiffs requested “maximum statutory
             damages,” which vary under the FDCPA depending on the
             nature of the action being brought. In an individual action, a
             plaintiff may recover any actual damages suffered plus
             statutory damages up to $1,000. § 1692k(a)(1), (a)(2)(A). In
             a class action, the named plaintiffs may recover actual
             damages plus statutory damages up to $1,000, but the
             damages award for the rest of the class is capped at $500,000
             or 1% of the defendant’s net worth, whichever is less.
             § 1692k(a)(2)(B).

                 In August 2011, after the district court denied ARS’s
             motion to dismiss the case on the pleadings, the parties began
             discussing settlement. Around the same time, ARS
             voluntarily adopted a new, standardized voicemail message
             which requires its employees to disclose that they work for
             ARS, that ARS is a debt collector, and that they are calling to
             collect a debt. The parties agree that this new voicemail
             message complies with the FDCPA.

                 Over the course of more than a year, the parties engaged
             in settlement discussions with the assistance of a magistrate
             judge. The named plaintiffs and ARS eventually consented
             to having the same magistrate judge conduct all further
             proceedings in the case, including the entry of final judgment.
             The district court entered an order authorizing the magistrate
             judge to exercise jurisdiction over the case, and she presided
             over all further proceedings.

                 In January 2013, following a full-day mandatory
             settlement conference before the magistrate judge, the parties
             finally hammered out a deal. Under the terms of the
             settlement, the parties agreed to seek certification of a
             nationwide, settlement-only class under Federal Rule of Civil
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.625 Page 8 of 21




             6                    KOBY V. HELMUTH

             Procedure 23(b)(2). The proposed class consisted of
             everyone in the United States who between April 2008 and
             August 2011 received a voicemail message from ARS that
             failed to identify ARS as the caller, disclose that the call was
             from a debt collector, or state that the purpose of the call was
             to collect a debt. (The parties chose those dates because April
             2008 is the beginning of the applicable statute of limitations
             period and ARS ended the alleged FDCPA violations in
             August 2011, when it adopted the new voicemail message.)
             Because the class would be certified under Rule 23(b)(2), the
             parties agreed that no notice of any kind would be sent to the
             four million class members and that no one would be
             permitted to opt out of the class.

                 In terms of monetary payments, ARS agreed to pay each
             of the three named plaintiffs $1,000, the maximum they could
             hope to recover under the FDCPA as none of them had
             suffered any actual damages. ARS represented to the court
             (although it is unclear whether the magistrate judge took any
             steps to verify this fact) that its net worth was only $3.5
             million, which meant the other four million class members
             could collectively recover no more than $35,000. Given the
             impossibility of distributing less than a penny to each
             member of the class, ARS agreed to make a $35,000 cy pres
             award to a local San Diego charity instead. ARS also agreed
             to pay class counsel the negotiated sum of $67,500 in
             attorney’s fees.

                 The four million unnamed class members receive no
             monetary compensation under the settlement. They are,
             however, the beneficiaries of a stipulated injunction to be
             entered against ARS as part of the settlement. The injunction
             requires ARS to continue using, for a period of two years, the
             new voicemail message it had already adopted voluntarily
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.626 Page 9 of 21




                                  KOBY V. HELMUTH                         7

             back in August 2011. In return for that supposed benefit, the
             four million class members forfeit the right to seek damages
             from ARS as part of a class action. The class members retain
             the right to pursue damages claims against ARS on an
             individual basis.

                 As required by the Class Action Fairness Act, see
             28 U.S.C. § 1715(b), ARS sent notice of the proposed
             settlement to the appropriate state and federal officials, none
             of whom objected to the settlement.

                 The four million class members did not receive individual
             notice of the proposed settlement, but one class member—the
             appellant in this case, Bernadette Helmuth—filed an
             objection. She is the named plaintiff in a separate class
             action against ARS pending in the district court for the
             Southern District of Florida. Her lawsuit alleges essentially
             the same FDCPA violations alleged in this case, except that
             she seeks certification of a much smaller class limited to
             Florida residents who owed money to a particular creditor on
             whose behalf ARS was attempting to collect. After the
             parties agreed to the settlement in this case, ARS asked the
             district court in Florida to stay all further proceedings in
             Helmuth’s case on the ground that, if approved, the
             settlement would bar her case from proceeding as a class
             action. The district court in Florida agreed to stay Helmuth’s
             action pending final approval of the settlement.

                 In her objection to the settlement, Helmuth argued, among
             other things, that the settlement was unfair and unreasonable
             because class members would be barred from pursuing
             damages claims as part of a class action but would receive
             nothing of value in return. (Helmuth did not object to the
             magistrate judge’s authority to approve the settlement and
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.627 Page 10 of 21




              8                    KOBY V. HELMUTH

              enter judgment, so we express no view on the propriety of
              having the same judge who assisted the parties in negotiating
              a settlement decide whether the settlement should be
              approved as fair and reasonable.) After conducting a fairness
              hearing at which Helmuth’s counsel, ARS’s counsel, and
              class counsel presented argument, the magistrate judge
              certified the proposed class under Rule 23(b)(2); approved the
              settlement as fair, reasonable, and adequate under Rule
              23(e)(2); and entered judgment accordingly. Having objected
              to the settlement in the district court, Helmuth is entitled to
              challenge the court’s rulings on appeal. See Devlin v.
              Scardelletti, 536 U.S. 1, 14 (2002).

                                            II

                  Before reaching the merits, we must be sure we have
              jurisdiction to decide this appeal. That inquiry requires more
              work here than in most cases. Our jurisdiction is triggered
              only if the magistrate judge had the authority to enter final
              judgment under 28 U.S.C. § 636(c). See Anderson v.
              WoodCreek Venture Ltd., 351 F.3d 911, 913–14 (9th Cir.
              2003). Section 636(c) authorizes magistrate judges, “[u]pon
              the consent of the parties,” to “conduct any or all proceedings
              in a jury or nonjury civil matter and order the entry of
              judgment in the case, when specially designated to exercise
              such jurisdiction by the district court or courts he serves.”
              28 U.S.C. § 636(c)(1). When a magistrate judge is authorized
              to enter final judgment, “an aggrieved party may appeal
              directly to the appropriate United States court of appeals from
              the judgment of the magistrate judge in the same manner as
              an appeal from any other judgment of a district court.”
              § 636(c)(3).
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.628 Page 11 of 21




                                    KOBY V. HELMUTH                          9

                  No one disputes that the district court properly designated
              the magistrate judge to exercise jurisdiction in this case. Nor
              is there any dispute that the named plaintiffs and ARS
              consented to the magistrate judge’s exercise of jurisdiction.
              The only question is whether the statute required not just the
              consent of the named plaintiffs, but also the consent of the
              four million class members who were not present before the
              court (we will refer to them as the absent class members).
              We conclude that the statute requires the consent of the
              named plaintiffs alone and join three other circuits that have
              reached the same conclusion. See Day v. Persels &
              Associates, LLC, 729 F.3d 1309, 1316 (11th Cir. 2013);
              Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 181
              (3d Cir. 2012); Williams v. General Electric Capital Auto
              Lease, Inc., 159 F.3d 266, 269 (7th Cir. 1998).

                  As a purely linguistic matter, § 636(c)(1)’s reference to
              the consent of “the parties” could be read to encompass both
              the named plaintiffs and the absent class members, for the
              term does not have a single fixed meaning. In some contexts
              absent class members are treated as parties, see In re Cement
              Antitrust Litigation, 688 F.2d 1297, 1307–10 (9th Cir. 1982)
              (judicial recusal statute), while in other contexts they are not,
              see Snyder v. Harris, 394 U.S. 332, 340 (1969) (diversity
              jurisdiction statute). As the Supreme Court has observed,
              absent class members may be treated as parties “for some
              purposes and not for others.” Devlin, 536 U.S. at 10.

                  Viewing § 636(c) as a whole, it seems clear that Congress
              did not intend absent class members to be treated as parties in
              this context. In § 636(c)(2), which specifies the procedures
              for obtaining party consent under (c)(1), the phrase “the
              parties” is used multiple times in a way that cannot sensibly
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.629 Page 12 of 21




              10                           KOBY V. HELMUTH

              be read to include absent class members.1 For example, the
              provision states that when a magistrate judge has been
              designated to exercise jurisdiction under (c)(1), “the clerk of
              court shall, at the time the action is filed, notify the parties of
              the availability of a magistrate judge to exercise such
              jurisdiction.” In virtually all class actions, it would be
              impossible for the clerk of court to issue this notice to absent
              class members at the time the action is filed. The identities
              of all absent class members will often not be known until
              later in the case, after at least preliminary discovery has been
              conducted. Even if the identities of all absent class members
              are known at the outset of the case, the clerk would need to
              compile their names and contact information in order to send
              the required notice, since that information will not appear in
              the complaint. And in large class actions, the cost of sending
              each class member notice of the availability of a magistrate
              judge would be prohibitive even for the most well-funded
              district courts. We doubt Congress would have imposed



                   1
                       Section 636(c)(2) provides:

                          If a magistrate judge is designated to exercise civil
                          jurisdiction under paragraph (1) of this subsection, the
                          clerk of court shall, at the time the action is filed, notify
                          the parties of the availability of a magistrate judge to
                          exercise such jurisdiction. The decision of the parties
                          shall be communicated to the clerk of court.
                          Thereafter, either the district court judge or the
                          magistrate judge may again advise the parties of the
                          availability of the magistrate judge, but in so doing,
                          shall also advise the parties that they are free to
                          withhold consent without adverse substantive
                          consequences. Rules of court for the reference of civil
                          matters to magistrate judges shall include procedures to
                          protect the voluntariness of the parties’ consent.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.630 Page 13 of 21




                                        KOBY V. HELMUTH                                11

              these substantial budgetary and manpower burdens on clerks’
              offices across the country without making that intent explicit.

                   There is an additional reason to believe that Congress
              intended to require the consent of only the named plaintiffs
              under § 636(c)(1). As a general matter, the named plaintiffs
              in a properly certified class action are charged with
              conducting the litigation on behalf of the class they represent;
              by definition class actions involve too many plaintiffs to
              allow each to participate personally. See Fed. R. Civ. P.
              23(a)(1). The named plaintiffs serve as representatives of the
              class and in that capacity are authorized to decide matters of
              litigation strategy, such as which claims to assert or drop,
              what discovery to take, what motions to file, and so forth.
              Deciding whether to consent to a magistrate judge is a matter
              of litigation strategy of the same order. In fact, it is probably
              less consequential to the outcome than other decisions the
              named plaintiffs are ordinarily called upon to make, such as
              deciding whether to consent to a bench trial or choosing
              which issues to raise on appeal from an adverse verdict. It
              would therefore have been sensible for Congress to assume
              that the named plaintiffs in a class action will decide, on
              behalf of the absent class members, whether to consent to the
              jurisdiction of a magistrate judge.2


                  2
                    It is true that the consent required under § 636(c)(1) is usually given
              at the outset of the case before a class has been certified, at which point
              the named plaintiffs lack the authority to bind the absent class members.
              See Standard Fire Insurance Co. v. Knowles, 133 S. Ct. 1345, 1349
              (2013). That simply means if the class is never certified, the absent class
              members will not be bound by the named plaintiffs’ decision to grant
              consent. If the class is certified and the case proceeds to judgment,
              however, the named plaintiffs’ litigation-related decisions are no less
              binding merely because they occurred before the class certification order
              was entered.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.631 Page 14 of 21




              12                    KOBY V. HELMUTH

                  With that issue of statutory interpretation resolved, the
              jurisdictional analysis is straightforward. Congress has
              authorized magistrate judges to enter judgment in a class
              action so long as the named parties to the action have
              consented, and here the named plaintiffs and ARS have done
              so. Thus, an appeal from the judgment entered by the
              magistrate judge may be taken directly to our court “in the
              same manner as an appeal from any other judgment of a
              district court.” 28 U.S.C. § 636(c)(3).

                   The only remaining issue is whether § 636(c) is
              constitutionally valid. The National Association of Consumer
              Advocates, appearing as a friend of the court, argues that the
              statute is unconstitutional, at least as applied to class actions.
              In its view, § 636(c) violates Article III of the Constitution by
              permitting magistrate judges to exercise jurisdiction over
              class actions without obtaining the consent of each absent
              class member.

                   Article III grants judges who wield the judicial power of
              the United States life tenure during good behavior and a
              guaranteed salary that may not be diminished. These
              protections are designed to ensure the independence and
              impartiality of the judicial officers authorized to decide the
              merits of a litigant’s case. The Supreme Court has held that
              litigants in federal court have a personal right, conferred by
              Article III, to insist upon adjudication of their claims by a
              judge who enjoys the salary and tenure protections afforded
              by Article III—protections that magistrate judges lack.
              Commodity Futures Trading Commission v. Schor, 478 U.S.
              833, 848 (1986); see Pacemaker Diagnostic Clinic of
              America, Inc. v. Instromedix, Inc., 725 F.2d 537, 542 (9th Cir.
              1984) (en banc). But the personal right to an Article III
              adjudicator may be waived, and a party’s express or implied
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.632 Page 15 of 21




                                   KOBY V. HELMUTH                        13

              consent to adjudication by a magistrate judge constitutes a
              valid waiver of the right. Roell v. Withrow, 538 U.S. 580,
              590 (2003).

                  So the question becomes whether Article III categorically
              prohibits the named plaintiffs from waiving, on behalf of the
              class members they represent, the right to proceed before an
              Article III judge. A categorical prohibition of that sort might
              be warranted if the interests of the named plaintiffs and the
              absent class members frequently diverged with respect to
              exercise of the right at issue. But the opposite is true of the
              right to have a case heard by an Article III judge. To serve as
              class representatives, the named plaintiffs must have claims
              that are typical of the claims held by the class, and in
              conducting the litigation the named plaintiffs must fairly and
              adequately protect the interests of the class. Fed. R. Civ. P.
              23(a)(3)–(4). When those requirements are met, the interests
              of the named plaintiffs and absent class members will almost
              always be aligned when it comes to deciding whether to
              consent to a magistrate judge’s jurisdiction. Barring unusual
              circumstances, the named plaintiffs will have as strong an
              interest as the absent class members in having their claims
              adjudicated by an independent and impartial decisionmaker.
              The named plaintiffs can therefore be expected to protect the
              absent class members’ interests in the exercise of the right
              conferred by Article III.

                  There are constitutional limits, of course, on the named
              plaintiffs’ authority to waive the rights of their fellow class
              members, but those limits are imposed by the Due Process
              Clause, not by Article III. Most fundamentally, as mandated
              by due process (and enforced through Federal Rule of Civil
              Procedure 23), the named plaintiffs’ interests must in fact be
              aligned with those of the class, and the named plaintiffs must
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.633 Page 16 of 21




              14                   KOBY V. HELMUTH

              adequately represent the interests of the class throughout the
              litigation. Taylor v. Sturgell, 553 U.S. 880, 900–01 (2008);
              Hansberry v. Lee, 311 U.S. 32, 41–43 (1940). In some
              instances, absent class members must also receive notice of
              the action and an opportunity to opt out. Taylor, 553 U.S. at
              900; Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 811–12
              (1985).

                  The absent class members in this case were not afforded
              notice and an opportunity to opt out. But we need not decide
              whether the Due Process Clause required those protections
              before the named plaintiffs could waive, on behalf of the
              class, the right to an Article III adjudicator. Any violation of
              the absent class members’ due process rights would affect
              only the preclusive reach of the resulting class judgment in
              subsequent litigation. See, e.g., Hecht v. United Collection
              Bureau, Inc., 691 F.3d 218, 224–26 (2d Cir. 2012) (lack of
              notice); Crawford v. Honig, 37 F.3d 485, 488 (9th Cir. 1994)
              (inadequate representation). Limits imposed by the Due
              Process Clause on the enforcement of class judgments do not
              curtail a magistrate judge’s authority under § 636(c) to enter
              judgment in the first instance—a judgment that at the very
              least will bind the named parties who consented to the
              magistrate judge’s jurisdiction. So any due process violation
              that might have occurred here would not deprive us of
              jurisdiction to decide this appeal, given that our jurisdiction
              is keyed to the magistrate judge’s authority to enter final
              judgment. Moreover, due process issues involving the extent
              to which the judgment might bind absent class members in
              future litigation would arise only if we were to uphold the
              magistrate judge’s order approving the settlement. Because
              we conclude below that the magistrate judge abused her
              discretion in entering that order, we are not faced with such
              due process issues here.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.634 Page 17 of 21




                                   KOBY V. HELMUTH                        15

                                            III

                  Under Federal Rule of Civil Procedure 23(e)(2), a district
              court may approve a class action settlement only after finding
              that the settlement is “fair, reasonable, and adequate.” When,
              as here, a class settlement is negotiated prior to formal class
              certification, there is an increased risk that the named
              plaintiffs and class counsel will breach the fiduciary
              obligations they owe to the absent class members. As a
              result, “such agreements must withstand an even higher level
              of scrutiny for evidence of collusion or other conflicts of
              interest than is ordinarily required under Rule 23(e) before
              securing the court’s approval as fair.” In re Bluetooth
              Headset Products Liability Litigation, 654 F.3d 935, 946 (9th
              Cir. 2011). The decision to approve a class action settlement
              is reviewed for abuse of discretion. Allen v. Bedolla,
              787 F.3d 1218, 1222 (9th Cir. 2015).

                  The magistrate judge abused her discretion by approving
              the settlement in this case. The settlement should not have
              been approved for one primary reason: There is no evidence
              that the relief afforded by the settlement has any value to the
              class members, yet to obtain it they had to relinquish their
              right to seek damages in any other class action.

                  The settlement’s injunctive relief is worthless to most
              members of the class because it merely dictates the
              disclosures ARS must make in future voicemail messages for
              a period of two years. That relief could potentially benefit
              class members who are likely to be contacted by ARS during
              the two-year window, but there is an obvious mismatch
              between the injunctive relief provided and the definition of
              the proposed class. The class was not defined to include
              those who are likely to be contacted by ARS in the future; it
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.635 Page 18 of 21




              16                    KOBY V. HELMUTH

              was defined to include those who had suffered a past wrong
              at ARS’s hands—receiving a voicemail message between
              2008 and 2011 that did not disclose certain information about
              the caller and the purpose of the call. The fact that a class
              member was a target of collection efforts sometime between
              2008 and 2011, however, does not without more establish that
              he or she would likely be contacted by ARS again after
              October 2013, when the settlement was approved.

                  As the proponents of the settlement, ARS and the named
              plaintiffs bore the burden of demonstrating that class
              members would benefit from the settlement’s injunctive
              relief, which required them to show that class members were
              likely to face future collection efforts by ARS. See In re Dry
              Max Pampers Litigation, 724 F.3d 713, 719 (6th Cir. 2013).
              They fell far short of carrying that burden. ARS and the
              named plaintiffs made no showing that members of the class
              continued to receive calls from ARS as part of ongoing
              efforts to collect debts that were by then two to five years old,
              a proposition doubtful enough that empirical data of some
              sort would be necessary to substantiate it. Nor did they show
              that class members were likely to become targets of ARS’s
              collection efforts in the future. That would happen only if a
              class member failed to pay another debt, the debt got referred
              to a collection agency, and ARS turned out to be that agency.
              While some of the four million class members might find
              themselves in that predicament during the two-year span of
              the injunction, nothing in the record indicates that most class
              members would. In other words, ARS and the named
              plaintiffs provided no evidence to suggest that many, if any,
              members of the proposed class would derive a benefit from
              obtaining the injunctive relief afforded by the settlement.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.636 Page 19 of 21




                                    KOBY V. HELMUTH                         17

                   Even for class members who might become targets of
              collection efforts by ARS in the future, the settlement’s
              injunctive relief is of no real value. The injunction does not
              obligate ARS to do anything it was not already doing. It
              merely requires ARS to continue using the same voicemail
              message it voluntarily adopted back in 2011. ARS took that
              step for its own business reasons (presumably to avoid further
              litigation risk), not because of any court- or settlement-
              imposed obligation. ARS would therefore be unlikely to
              revert back to its old ways regardless of whether the
              settlement contained the stipulated injunction. See Crawford
              v. Equifax Payment Services, Inc., 201 F.3d 877, 882 (7th Cir.
              2000). To make matters worse, the settlement contained an
              escape clause that allowed ARS to seek dissolution of the
              injunction “at any time if there is a change in the law.” Thus,
              if the litigation risk were reduced by a new court decision or
              legislative enactment—the only scenario in which ARS might
              be tempted to resume its prior conduct—ARS could seek to
              wriggle out of the injunction.

                   ARS and the named plaintiffs likewise presented no
              evidence that the absent class members would derive any
              benefit from the settlement’s cy pres award. Indeed, it is
              doubtful that the award could be approved under our
              precedents, which require that cy pres awards be tethered to
              the objectives of the underlying statutes or the interests of the
              class members. See Nachshin v. AOL, LLC, 663 F.3d 1034,
              1039 (9th Cir. 2011). Here, the award consists of a $35,000
              donation to a San Diego veterans’ organization. The San
              Diego location of the chosen charity has no geographic nexus
              to the class, which includes four million individuals scattered
              throughout the United States. Nor was there any evidence
              that the settlement class is disproportionately composed of
              veterans. And there was no showing that the work performed
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.637 Page 20 of 21




              18                       KOBY V. HELMUTH

              by the designated charity would protect consumers from
              unfair debt collection practices, the objective of the FDCPA.
              Thus, even putting aside the relatively small size of the cy
              pres award, we cannot say that this aspect of the settlement
              provided any material benefit to the class members.

                  Because the settlement gave the absent class members
              nothing of value, they could not fairly or reasonably be
              required to give up anything in return. Yet the settlement
              requires absent class members to relinquish their right to
              pursue damages claims against ARS as part of a class action.
              The parties dispute whether that right has any real value to
              the absent class members, given the FDCPA’s cap on class
              action damages. ARS asserts that, with total damages capped
              at $35,000, none of the absent class members have any hope
              of obtaining meaningful monetary relief as part of another
              class action because it would be impossible to define a class
              small enough to afford individual recoveries of more than a
              trivial amount. Helmuth asserts, however, that the proposed
              class in her pending Florida action might contain as few as
              several hundred members, each of whom could recover
              meaningful relief of roughly $100.3

                  We need not resolve the parties’ dispute on this point. It
              is enough to conclude that the waiver of the right to seek


                   3
                    The parties overlook the fact that the settlement also waives the
              absent class members’ right to pursue class action damages for claims
              under state law, so they have not explored whether state-law analogues of
              the FDCPA contain similar class action damages caps. In States without
              such a cap, the right to pursue class action damages under state law could
              be considerably more valuable than the right to pursue such damages
              under the FDCPA, as no court of which we are aware has held that the
              FDCPA’s damages cap preempts state statutes permitting a larger
              recovery.
Case 3:09-cv-00780-KSC Document 117 Filed 04/20/17 PageID.638 Page 21 of 21




                                   KOBY V. HELMUTH                        19

              damages in future class actions has some value, and it plainly
              does. Very few class members would bother to file their own
              individual actions to recover minimal (or non-existent) actual
              damages and statutory damages capped at $1,000. For small-
              dollar claims like these, even under a statute with a fee-
              shifting provision, a class action is often the only realistic
              means of obtaining any monetary recovery. See Shutts,
              472 U.S. at 809; Crawford, 201 F.3d at 882. Cutting off
              access to a procedural tool that may offer the only realistic
              means of obtaining monetary relief deprived the absent class
              members of something of value here, even if it might be
              worth relatively little. The fact that class members were
              required to give up anything at all in exchange for worthless
              injunctive relief precluded approval of the settlement as fair,
              reasonable, and adequate under Rule 23(e)(2).

                  Helmuth challenges the reasonableness of the settlement
              on other grounds, such as the disparity between what the
              named plaintiffs got and what the rest of the class members
              received, and she contends in addition that the class could not
              be certified under Rule 23(b)(2). In light of our disposition
              above, we need not address these remaining contentions.

                 REVERSED and REMANDED.
